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IN THE UNITED STATES DISTRICT COURT 1
FOR THE MIDDLE DISTRICT OF FLORID'A§ -'=~ :~q n 1 ;. z § ,
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KATHY MARIE DEANE, § f
cIVIL ACTION NO; 4 :rc-cv»// 0;5- o/(L-,? Y¢
Pla.intiff,
VS.

VISIONQUEST NATIONAL, LTD.,
a foreign corporation,

Defendant.
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COMPLAINT AND DEMAND FOR JURY TRIAL

 

COMES NOW, Plaintiff KATHY MARIE DEANE (hereinaher “PlaintiffDEANE”), by and
through her undersigned attorney, and hereby sues Defendant VISIONQUEST NATIONAL, LTD.
(hereinafter “Defendant VISIONQUEST”), and states as follows:

Jurisdiction and Venue

l. This is an action for damages in excess of the jurisdictional minimum of this Court,
for violations of Title VII of the Civil Rights Act of 1964, the Florida Civil Rights Act, and
negligence This Court has subject matter jurisdiction pursuant to 42 U.S.C. § 2000(e), et seq.,'
Chapter 760 of the Florz'da Statutes; and, U.S.C. §§ 1331, 1343, 1367. Venue is proper in this Court
under 28 U.S.C. § l39l(b) and Rule 1.02(c) of the Local Rules of the Middle District of Florida.

Parties and Factual Allegations

 

2. Defendant VISIONQUEST is a foreign corporation registered and authorized to do

 

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business in Florida, and at all relevant times herein, was doing business in both Brevard and Orange
Counties, Florida.

3. PlaintiffDEANE is an individual, sui juris, residing in Brevard County, Florida, and
is a practicing Catholic.

4. Defendant VISIONQUEST hired PlaintiffDEANE on or around September 1, 1998
as a Backer, working with troubled youths in Central Florida.

5. As a Backer, Plaintiff DEANE was responsible for, including, but not limited to,
providing face-to-face contact with youth two (2) to three (3) times daily at work, school, home and
during recreational activities; providing on-going assessment and documentation of individual
youths’ progress in meeting their treatment goals and obj ectives; maintaining regular communication
with the school and providing intervention as needed; providing and documenting non-clinical
individual and crises counseling of youths and families; providing transportation for youth to job
training sites, community service activities, peer groups, family meetings, and recreational activities;
and, providing supervision to youth engaged in community service activities, peer groups, and
recreational activities.

6. During her employment with Defendant VISIONQUEST, and at all relevant times
hereto, Plaintiff DEANE met or exceeded the employment expectations of Defendant
VISIONQUEST.

7. On numerous occasions, however, throughout her employment with Defendant

VISIONQUEST, Plaintiff DEANE was harassed because of her religious beliefs, the practice

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thereof, and for her refusal to participate in Defendant VISIONQUEST’$ religious ceremonies.

8. Plaintiff DEANE requested reasonable accommodation for her religious beliefs.
However, Defendant VISIONQUEST denied Plaintiff DEANE reasonable accommodation

9. Plaintiff DEANE was also treated differently than similarly situated employees
because of her religious beliefs, and her refusal to participate in VISIONQUEST’s religious
ceremonies.

10. Moreover, when PlaintiffDEANE complained about the discriminatory treatment and
harassment she was receiving, Defendant VISIONQUEST ignored Plaintiff DEANE’s complaints,
and then intentionally retaliated against Plaintiff DEANE for complaining of Defendant
VISIONQUEST’s unlawful employment practices.

1 l. Defendant VISIONQUEST terminated PlaintiffDEANE on or around July 30, 1999.

12. Plaintiff DEANE filed charges with the United States Equal Employrnent
Opportunities Commission (EEOC) and the Florida Commission on Human Relations (FCHR).
Plaintiff DEANE has received a Notice of Right to Sue from the EEOC, a copy of which is attached
hereto as Exhibit “A” and incorporated herein by reference.

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Religious Discrimination

 

13. This is an action for damages for violation of Title VII of the Civil Rights Act of
1964, as amended, specifically 42 U.S.C. § 2000(e) et seq.

14. Plaintiff DEANE repeats and incorporates by reference herein paragraphs l

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through 12 above, as though fully set forth herein,

l5. Plaintiff DEANE has been intentionally harassed and intentionally discriminated
against on the basis of her religious beliefs, as set forth in the preceding paragraphs, in violation
of 42 U.S.C. § 2000(e)(2).

16. Defendants have intentionally harassed and intentionally discriminated against
Plaintiff DEANE because of her religious beliefs, for the practice of her religious beliefs, and for
her unwillingness to participate in the religious ceremonies conducted by Defendant
VISIONQUEST.

l7. All conditions precedent to this action have been met or waived.

18. As a result of the intentionally discriminatory actions by Defendant
VISIONQUEST, Plaintiff DEANE has sustained significant damages in the form of pain,
suffering and mental anguish and Will continue to sustain said damages in the future.

19. Plaintiff DEANE has also sustained damages in the form of lost wages and
benefits.

20. Plaintiff DEANE has retained the undersigned counsel to bring this action, and
has agreed to pay her a reasonable fee for her services.

WHEREFORE, Plaintiff DEANE demands judgment against Defendant VISIONQUEST
for backpay and benefits, front pay, and for compensatory and punitive damages as provided by
42 U.S.C. § 2000(e), including costs, interest and attorneys fees, and all other remedies deemed

appropriate by this Court.

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Title VII Retaliation

21. This is an action for damages for violation of Title VII of the Civil Rights Act,
specifically 42 U.S.C. § 2000(e)(3).

22. Plaintiff DEANE repeats and incorporates by reference Paragraphs l through 12
above, as though fully set forth herein,

23. PlaintiffDEANE has been intentionally discriminated against, intentionally
harassed, and intentionally retaliated against because of her opposition to Defendant
VISIONQUEST’$ unlawful employment practices, as set forth in the preceding paragraphs, in
violation of 42 U.S.C. § 2000(e)(3).

24. Defendant VISIONQUEST intentionally discriminated, intentionally harassed
and intentionally retaliated against Plaintiff DEANE because of her opposition to Defendant
VISIONQUEST unlawful employment practices.

25. All conditions precedent to this action have been met or waived.

26. As a result of the intentionally discriminatory and intentionally retaliatory actions
of Defendant VISIONQUEST, Plaintiff DEANE has sustained significant damages in the form
of pain, suffering and mental anguish, and will continue to sustain said damages in the future.

27. Plaintiff DEANE has also sustained damages in the form of lost wages and
benefits.

28. Plaintiff DEANE has retained the undersigned counsel to bring this action, and

has agreed to pay her a reasonable fee for her services.

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WHEREFORE, Plaintiff DEANE demands judgment against Defendant VISIONQUEST
for back pay and benefits, front pay and for compensatory and punitive damages as provided by
42 U.S.C. § 2000(6)(5), including costs, interest and attorneys fees, and all other remedies
deemed appropriate by this Court.
Count III

Florida Civil Rights Act
Religious Discrimination

 

 

29. This is an action for damages for violations of the Florida Civil Rights Act of 1992, as
set forth in Chapter 760 of the Florida Statutes.

30. PlaintiffDEANE repeats and incorporates by reference herein, paragraphs l through
12 above, above as though fully set forth herein,

31. Defendant VISIONQUEST intentionally discriminated against Plaintiff DEANE as
set forth in the preceding paragraphs, in violation of § 760.10 of the Florida Statutes.

32. Plaintiff DEANE has exhausted all administrative remedies set forth in Chapter 760
of the Florida Statutes, and has met or waived all conditions precedent to this action.

33. As a result of the intentionally discriminatory actions of Defendant VISIONQUEST,
Plaintiff DEANE has sustained significant damages in the form of pain, suffering and mental
anguish, and will continue to sustain said damages in the future.

34. PlaintiffDEANE has also sustained damages in the form of lost wages and benefits

35. Plaintiff DEANE has retained the undersigned counsel to bring this action, and has

agreed to pay her a reasonable fee for her services.

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WHEREFORE, Plaintiff DEANE demands judgment for back pay and benefits, front pay
and for compensatory and punitive damages against Defendant VISIONQUEST, as provided by
Chapter 760 of the Florida Statutes, including costs, interest and attorneys fees, and all other
remedies deemed appropriate by this Court.

Count IV

Florida Civil Rights Act
Retaliation

 

36. This is an action for damages for violation of Chapter 760 of the Florida Statuzes.

37. Plaintiff DEANE repeats and incorporates by reference paragraphs l through 12
above, as though fully set forth herein.

38. Plaintiff DEANE has been intentionally discriminated against, intentionally
harassed, and intentionally retaliated against because of her opposition to Defendant
VISIONQUEST’s unlawful employment practices, as set forth in the preceding paragraphs

39. Defendant VISIONQUEST intentionally discriminated, intentionally harassed
and intentionally retaliated against Plaintiff DEANE because of her opposition to Defendant
VISIONQUEST unlawful employment practices

40. All conditions precedent to this action have been met or waived.

4l. As a result of the intentionally discriminatory and intentionally retaliatory actions
of Defendant VISIONQUEST, Plaintiff DEANE has sustained Significant damages in the form

of pain, suffering and mental anguish, and will continue to sustain said damages in the future.

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42. Plaintiff DEANE has also sustained damages in the form of lost wages and
benefits

43. Plaintiff DEANE has retained the undersigned counsel to bring this action, and
has agreed to pay her a reasonable fee for her services

WHEREFORE, Plaintiff DEANE demands judgment against Defendant VISIONQUEST
for back pay and benefits, front pay and for compensatory and punitive damages, including costs,
interest and attorneys fees, and all other remedies deemed appropriate by this Court.

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Negligent Retention and Supervision

 

44. This is an action for Negligent Supervision and Retention.

45. Plaintiff DEANE realleges and incorporates by reference herein paragraphs l
through 12 above, as thoughtfully set forth herein,

46. Defendant VISIONQUEST knew or reasonably should have known that
Defendant VISIONQUEST was engaging in the unlawful behavior described above,

47. At all times material herein, Defendant VISIONQUEST knew, or reasonably
should have known, that the conduct, acts and failure to act of Defendant VISIONQUEST and/or
supervisors, agents and employees described above, violates PlaintiffDEANE’s rights under
federal, state and municipal statutes, codes and ordinances

48. At all times material herein, Defendant VISIONQUEST knew, or reasonable
should have known, that the incidents, conducts, acts, and failures to act described above, would

and did proximately result in emotional distress to Plaintiff DEANE.

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49. At all times material herein Defendant VISIONQUEST knew, or in the exercise
of reasonable care, should have known, that unless Defendant VISIONQUEST intervened to
protect Plaintiff DEANE, and to adequately supervise, train, prohibit, control, regulate,
discipline, and/or otherwise penalize the conduct, acts, and failures to act, of Defendant
VISIONQUEST and/or supervisors, agents or employees as alleged herein above, said conduct,
acts, and failures to act would continue, thereby subjecting PlaintiffDEANE to emotional
distress

50. Defendant VISIONQUEST knew, or in the exercise of reasonable care, should
have known, that unless Defendant VISIONQUEST intervened to protect Plaintiff DEANE, and
to adequately supervise, train, prohibit, control, regulate, discipline, and/or otherwise penalize
the conduct, acts, and failures to act of the Defendant VISIONQUEST and others as described
herein, Defendant VISIONQUEST’S failure to so protect, supervise, train, and intervene would
have the effect of encouraging, ratifying, condoning, exacerbating, increasing and worsening said
conduct, acts, and failures to act.

5 l. At all times material herein, Defendant VISIONQUEST, had the power, ability
authority, and duty to so intervene, supervise, train , prohibit, control, regulate, discipline, and/or
penalize the conduct of all other Defendant VISIONQUEST and/or supervisors, agents or

employees as described herein above.

 

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52. Despite said knowledge, power, and duty, Defendant VISIONQUEST negligently
failed to act so as to prevent, supervise, train, prohibit, control, regulate, discipline, and/or
penalize such conduct, acts, and failures to act, or to otherwise protect Plaintiff DEANE.

53. As a direct and proximate result of the failure of Defendant VISIONQUEST to
protect Plaintiff DEANE, and to adequately supervise, train, prohibit, control, regulate,
discipline, and/or otherwise penalize the conduct, acts and failures to act of Defendant
VISIONQUEST and/or supervisors agents or employees as alleged herein above, said conduct,
acts and failures to act Were perceived by them as, and in fact had the effect of, ratifying,
encouraging, condoning, exacerbating, increasing, and/or worsening said conduct, acts, and
failures to act.

54. At all times material herein, the failure of Defendant VISIONQUEST to protect
Plaintiff DEANE, and to adequately supervise, train, prohibit, control, regulate, discipline, and/or
otherwise penalize the conducts, acts, and failures to act of VISIONQUEST and/or supervisors,
agents or employees violated Plaintiff DEANE’s rights under federal, state, and municipal
statutes codes and ordinances

55. All conditions precedent to this action have been met or waived.

56. As a result of the intentionally discriminatory and intentionally retaliatory actions
of Defendant VISIONQUEST, Plaintiff DEANE has sustained significant damages in the form

of pain, suffering and mental anguish, and will continue to sustain said damages in the future.

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57. Plaintiff DEANE has also sustained damages in the form of lost wages and
benefits
58. Plaintiff DEANE has retained to undersigned counsel to bring this action, and has
agreed to pay her a reasonable fee for her services
WHEREFORE, Plaintiff DEANE demands judgment against Defendant VISIONQUEST
for compensatory damages and all such other remedies deemed appropriate by this Court.

NOTICE OF IN'I`ENT TO SEEK PUNITIVE DAMAGES

 

PlaintiffDEANE hereby gives notice pursuant to § 768.72, Fla. Stat. (1999) of her intent to
seek punitive damages under the applicable claims

DEMAND FOR JURY TRIAL

 

Plaintiff DEANE hereby demands a jury trial on all issues so triable.

  

  
 

Mary . Lytle,

da Bar No 0007950

ARY E. LYTLE, P.A.
1500 E. Robinson Street
P.O. Box 3351

' Orlando, Florida 32802-3351
Telephone: (407) 228-1230
Facsimile: (407) 228-6822
Attorney for Plaintiff

  
 

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NOTICE OF RlGHT TO SUEJ
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Kathy Deane Miami District Off£cg.i "
1421 N. River Drive Equal Employmen Opportunity Commission
Cocoa, FL 32922 One Biscayne Tower, Suite 2700
2 South Biscayne Boulevard
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09 C.F.R. 160].710))
Charge Number EEOC Representatlve Telephone Number l
150A00326 George W. Ruggiano, Jr., lnvesitgator 13051 535~7242 §

 

 

 

_ lf you file suit based on this charge, please send a copy of your court compliant to this office.

(See the additional information attached to this form.)

NOT|CE TO THE PERSON AGGR|EVED: -

Title Vll of the Civil Rights Act of 1964 and/or the Amerlcans with Disabl|ities Act(ADA): This is your Notice of Right to Sue, issued
under Tit|e V|| and/or the ADA based on the above-numbered charge. lt has been issued at your request. Your suit under Tit|e Vl| or
the ADA must be filed in federal or state court WITHlN 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on _
the above-numbered charge will be lost. l

EE More than 180 days have passed since the filing of this charge.

l:l Leee than 180 days have passed since the filing er this charge but l have determined that it is unlikely that the
EEOC will be able to complete its administrative processing within 180 days from the filing of the charge.

w The EEOC is terminating its processing of this charge.

1::1 The EEOC will continue to process this charge.

Age Discrimination in Employment Act lADEA): You may sue under the ADEA at any time from 60 days after the charge was filed
until 90 days after you receive notice that we have completed action on the charge. ln this regard, the paragraph marked below
applies to your case:

:] The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WlTHlN
99 DAYS of your receipt of this Notice. otherwise. your right to sue based on the above-numbered charge will be lost.

:] EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of your charge,
you may file suit in federal or state court under the ADEA at this time. l

Equal Pay Act (EPA): You already have the right to sue under the EPA lfiling an EEOC charge is not requiredl. EPA suits must be _
brought in federal or state court within 2 years l3 years for willful violationsl of the alleged EPA underpayment. This means that backpay
due for any violations that occurred more than 2 !gars 13 yearsl before you file suit may not be collectible.

   

MAY 26 2000

lDate Mai|edl

 

Enclosures
information Sheet
Copy of Charge

cc: Mary E. Lytle, Esq. Personnel Manager
Post Office Box 3351 Vision Quest
Orlando, FL 32802 1520 Woodward Street

Orlarldo, FL 32803

 

EEQC Form 161-8 l10/96l

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